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L A W R E N C E A . D U B I N *§           www.goldbergerdubin.com                * MEMBER OF NY BAR
EDGAR L. FANKBONNER *                                                             § MEMBER OF NJ BAR



VIA ECF
                                                                     August 19, 2022
Honorable Lorna G. Schofield
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

                  Re: Network Data Rooms, LLC v. Saulrealism LLC et al (22-cv-02299-LGS)
                      Response to Document No. 78
    Your Honor:


           Please be reminded that Goldberger & Dubin, P.C., represents the Defendants in this
    action, Saulrealism LLC, and Ryan Saul. This letter is in response to Plaintiff’s pre-motion
    conference request for sanctions. On August 17, 2022, counsel filed a consent letter application to
    stay the Civil Case Management Plan and Scheduling Order.

          Prior to submitting this letter, defense counsel proposed to Plaintiff’s filing a joint letter for
    a scheduling conference with the Court to resolve the numerous discovery issues for both parties.
    Defense counsel aimed to have a conference that would limit the already significant legal
    expenses for both parties in this action while still providing necessary discovery for both parties to
    prepare memoranda responsive to the Order to Show Cause.

            In this email, I acknowledged that Plaintiff’s counsel had potential spoilation arguments
    regarding Defendants’ hard drive. Conversely, the Defendants have numerous outstanding
    discovery demands that the Plaintiff has failed to produce, which are outlined in a three-page
    letter to confer sent to Plaintiff.

          Specifically, the Plaintiff has failed to produce emails from David Delorge from January
    14, 2022, through present, which is relevant to the pending OSC.1 Plaintiff is currently unable to
    produce these emails from David Delorge. Plaintiff has also failed to produce access to NDR’s

1
  Defendant Ryan Saul was terminated from employment on January 18, 2022. The fraudulent email submitted to
this Court was forwarded on March 1, 2022. Nicholas Fortuna writes: “I checked and the plaintiff is not in
possession of any other emails from David Delorge. Whatever emails we sent you we received directly from David
Delorge. There is an obvious legal conflict between the plaintiff and Delorge at this time. I am advising David
Delorge to get his own attorney.”
                                                                                                                  1
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    Microsoft Azure DevOps Account, a copy of the Virtual Machine used by the Defendant,
    rudimentary business incorporation and financial documents, any information regarding damages,
    or a copy of the source code. Plaintiff is currently asking for discovery sanctions including a
    default judgment, but has failed to produce the relevant discovery or move for a protective order.

            Plaintiff’s counsel Nicholas Fortuna wrote, “You can prepare a letter requesting a hold on
    discovery until after the hearing and we will consent. I do not see a need for a status conference
    until after the hearing.” As a result of these communications, defense counsel filed the consent
    application to stay discovery.

           As in customary in the normal course of discovery, both parties have outstanding discovery
    issues. Defense counsel presumed that Plaintiff was seeking to resolve any potential spoilation
    issues2 until after the Order to Show Cause hearing, which would determine if the matter would
    be terminated, and the statements made to the Court would be referred to the United States
    Attorney’s Office for the Southern District of New York. Plaintiff is unable to produce required
    discovery because the custodian of records is David Delorge. As such defense counsel was
    willing to wait until after the determination of the hearing.

           The August 19, 2022 letter from Nicholas Fortuna is just a continuation of a pattern of
    aggressive, unprofessional, discourteous, and harassing behavior. Without going into the complete
    details, I would like to note that the factual elements regarding the production of the Defendants’
    drive in both Mr. Fortuna’s August 9th and August 19th letters are misleading. Moreover, I would
    like to clarify that Mr. Fortuna was finally able to communicate that his team successfully
    restored the hard drive from the image and that he required the password to the Microsoft
    Windows Operating System on August 10th at 2:27PM. He received the password on August 10th
    at 3:53PM.

          Defendants’ position is that Plaintiff’s pre-motion conference letter is a frivolous filing
    subject to Rule 11 sanctions. Defendants would also like to have a pre-motion conference to
    discuss the outstanding discovery required to draft memoranda responsive to the OSC. Due to Mr.
    Fortuna’s harassing communications and misrepresentations to the Court, I have previously
    requested he communicate with me solely in writing, and he has disregarded that request.
    Defense counsel is amenable to participating in a conference.

                                                                        Respectfully submitted,

                                                                        /s/Renee M. Wong
                                                                        Renee Wong, Esq.
                                                                        On behalf of Defendants
                                                                        Goldberger & Dubin, P.C.
                                                                        Of Counsel




2
 Defendants do not agree that there was an obligation to preserve the hard drive, as the Defendants are contractually
obligated to destroy any of Plaintiff’s information.
                                                                                                                   2
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                 •[
            GITTal ·                                                                      Renee Wo ng <renee@wonglaw.net>



NDR v. Saul
Renee Wong <renee@wonglaw.net>                                                                   Wed , Aug 17, 2022 at 11 :31 AM
To: Nicholas Fortuna <nfortuna@allynfortuna.com>
Cc: Paula Lopez <plopez@allynfortuna.com>

  Nick & Paula:

 I rece ived your emails and voicemail. First, my office did not provide you with th e Ru le 45 subpoena with the intention of
 you r serving it on Delorge, rather we were providing notice of the subpoena.

 However, in light of the recent order, it is the Defendants' position that we should hold a discovery scheduling and
 compliance conference with the Court. Pursuant to the current order, fact discovery is to be comp leted on 9/15. In light of
 the OSC which includes san ction s including termination of the action, I am seeking to limit both parties' legal expenses. I
 would propose to the Court that we stay depositions until the decision is made on the OSC.

 There are outstanding discovery demands that I have sent in the letter to confer dated 8/16 . I understand you may need
 some more time to review and respond, but we can address the items at the confe rence. There are some items that I
 must have prior to th e submission of the OSC , including David Delorge's emails from 1/14/22 thro ugh present.

 You have made numerous inq uiries regarding the mirror image of Ryan Saul's personal computer that was produced to
 you. This production is ihe only production that is responsive to your request. It does not contain any of
 NDR's confidential information. Pursuant to paragraph 2(f) of the 12/14/2020 Nondisclosure Agreement, the Defendants
 have an obligation to destroy al l information in their possession 5 days after the termination of th e relationship.

 Please let me know if you are interested in preparing a joint status letter requesti ng a scheduling and discovery
 compliance order.

 Tha nk you,

 Renee
 [Quoted text hidden]
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            Gmail                                                                             Renee Wong <renee@wonglaw.net>



  DR v. Saul
Nicholas Fortuna <nfortuna@allynfortuna.com>                                                         Wed, Aug 17, 202 2 at 11 :41 AM
To : Re nee Won g <renee@wonglaw.net>
Cc: Paula Lopez <plopez@a llynfortu na.com>


 Renee,



 Yo u can prepare a letter requesti ng a ho ld on discovery un til after th e hearin g and we w ill conse nt. I do not see a need for
 a status con feren ce until after the hearing. Send a copy of the letter for my review before filin g.



 I checked and the pla intiff is not in possession of an y other emails from David Delorge. Wh atever emails we sent you we
 received directly from David Delorge. There is an obvious legal conflict between the plaintiff and Delorge at this time. I am
 advisi ng David Delorge to get his own attorney. If there is any information you wo uld like from him, I suggest you send a
 subpoena.

 [Quoted text hidden]
